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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


  Sid Miller, et al.,

                         Plaintiffs,

  v.

  Tom Vilsack, in his official capacity as
  Secretary of Agriculture,                        Case No. 4:21-cv-00595-O

                         Defendant,

  and

  Federation of Southern
  Cooperatives/Land Assistance Fund,
  et al.

                         Intervenors.


                    JOINT STIPULATION OF DISMISSAL
       The parties stipulate to dismiss this action without prejudice. See Fed. R. Civ. P.
 41. The parties agree the constitutional challenge to Section 1005 is moot. Notice to
 the class is not necessary because the dismissal is without prejudice and does not bind
 the members of the class. See Fed. R. Civ. P. 23(e).

                                               Respectfully submitted.

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  Dated: August 29, 2022




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                          CERTIFICATE OF SERVICE
     I certify that on August 29, 2022, I served this document through CM/ECF
 upon:

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